           Case 3:12-cr-00012-LAB                        Document 41                 Filed 02/13/12             PageID.85              Page 1 of 3


     "'AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
                Sheet I


                                                                                                                                   12 FEB 13 Pf;1 I; 31
                                               UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                        ..
                                                                                                                                  '... n~ -',.    • ,;, !


                     UNITED STATES OF AMERICA
                                         v.
                                                                                     JUDGMENT IN A CRIMINAL CASE
                                                                                     (For Offenses Committed On or After November 1, 1987)                  ~EPUT'
           ROBERTO EMMANUEL ROCHE-QUIRARTE (1)                                       Case Number: 12CROOOI2-LAB
                                                                                     CASSANDRA LOPEZ, FEDERAL DEFENDERS, INC.
                                                                                     Defendant's Attorney
     REGISTRATION NO. 29867298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE OF THE INFORMATION
     D     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
     Title & Section                          Nature or Offense                                                                              Number(s)
8 USC 1324(a)(I )(A)(iv)               Inducing and Encouraging Illegal Aliens to Enter the United States and Aiding                         I
and (v)(II)                            and Abetting




        The defendant is sentenced as provided in pages 2 through                3         of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not gUilty on count(s)
                                                             ----------------------------------
  D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the motion of the United States.
 181 Assessment: $100.00 payable within 180 days

  181 No fine                                       D    Forfeiture pursuant to order filed ___________ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change ofname, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               FEBRUARY 6, 2012




                                                                              HON. LARRY ALAN BURNS
                                                                               UNITED STA TES DISTRICT JUDGE

                                                                                                                                                 12CROOOI2-LAB
        Case 3:12-cr-00012-LAB                      Document 41               Filed 02/13/12              PageID.86             Page 2 of 3


AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 - Probation
                                                                                                             Judgment-Page       2     of        3
DEFENDANT: ROBERTO EMMANUEL ROCHE-QUIRARTE (1)                                                        a
CASE NUMBER: 12CROOO12-LAB
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
 5 YEARS WITH TIME SERVED

The defendant shall not commit another federal, state, or local crime.
For offonses committed on or after September 13, 1994:
The defendant shall not illegally possess a controIled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, ifapplicable.)
       The defendant shall not possess a ftrearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tIle requirements ofthe Sex Offender Registration and Notiftcation Act (42 U.S.c. § 1690I, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check ifapplicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)    the defendant shall not enter into any agreement to act as an infurmer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.



                                                                                                                                     12CROO012-LAB
           Case 3:12-cr-00012-LAB                       Document 41         Filed 02/13/12            PageID.87            Page 3 of 3


       AO 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                  Sheet 3· Special Conditions
                                                                                                         Judgment-Page   ----l.- of _......::..3_ _
       DEFENDANT: ROBERTO EMMANUEL ROCHE-QUIRARTE (I)                                               D
       CASE NUMBER: llCROOOll-LAB




                                             SPECIAL CONDITIONS OF SUPERVISION
o   Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
[81 Not transport, harbor, or assist undocumented aliens.
[81 Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written pennission ofthe Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without pennission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    infonnation between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be detennined by the probation officer, based on the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
[81 Provide complete disclosure ofpersonal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
[81 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within                 days.
o   Complete             hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of infonnation between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be detennined by the probation officer, based on the defendant's ability to pay.




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